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                       Exhibit 1
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                                                                          5                       IN THE UNITED STATES DISTRICT COURT
                                                                          6                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)          ) Case No. C 07-5944 SC
                                                                          8   ANTITRUST LITIGATION                   ) MDL No. 1917
                                                                                                                     )
                                                                          9                                          ) ORDER DENYING MOTION TO COMPEL
                                                                                                                     )
                                                                         10                                          )
                               For the Northern District of California
United States District Court




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                                                                         11                                          )
                                                                                                                     )
                                                                         12                                          )
                                                                         13
                                                                         14   I.   INTRODUCTION
                                                                         15        Now before the Court is the Direct Action Plaintiffs' ("DAPs")
                                                                         16   motion to compel production of a document from Defendants Chunghwa
                                                                         17   Picture Tubes, Ltd., LG Electronics, Philips, Samsung SDI, Toshiba
                                                                         18   Corp., Panasonic, and MTPD (collectively "Defendants").                 The
                                                                         19   parties briefed this motion before the case's Special Master, who
                                                                         20   referred the matter to the Court.          ECF No. 2432.     The motion is
                                                                         21   fully briefed, ECF Nos. 2446 ("Mot."), 2449 ("Opp'n"), and
                                                                         22   appropriate for resolution without oral argument, Civ. L.R. 7-1(b).
                                                                         23   The motion is DENIED, as explained below.
                                                                         24
                                                                         25 II.    BACKGROUND
                                                                         26        The parties are familiar with this case's factual background.
                                                                         27   The facts germane to this motion are as follows.             The DAPs seek
                                                                         28   production of a confidential European Commission ("EC") decision
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                                                                          1   (the "Decision"), issued on December 5, 2012, which relates to EC
                                                                          2   investigations regarding the Defendants' participation in an
                                                                          3   alleged price-fixing conspiracy regarding color display tubes
                                                                          4   ("CDTs") and color picture tubes ("CPTs"), two different types of
                                                                          5   cathode ray tubes ("CRTs").        The EC has not yet published a public
                                                                          6   or redacted version of the Decision, but a summary of the Decision
                                                                          7   confirms that these Defendants, plus Technicolor, were found to
                                                                          8   have participated in price-fixing cartels for CDTs and CPTs, and
                                                                          9   were collectively fined more than € 1.47 billion.             Mot. Ex. 2
                                                                         10   ("Summary") ¶¶ 1, 11-12.       Public statements regarding the Decision
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                                                                         11   state that the two cartels were highly organized, aware of the
                                                                         12   illegality of their activity, and ultimately successful in imposing
                                                                         13   harmful price increases on consumers.          Id. Ex. 3 ("EC Press
                                                                         14   Release").    When the EC issued the Decision, it said that it and
                                                                         15   the companies involved were trying to establish a public, redacted
                                                                         16   version "with a view to a quick publication," though as of this
                                                                         17   Order's signature date, no such public version has been made
                                                                         18   available.    Id. Ex. 4.
                                                                         19         In 2010, the Direct Purchaser Plaintiffs ("DPPs") served
                                                                         20   Defendants with a discovery request related to the EC's
                                                                         21   investigation (since, at that time, the Decision had not yet
                                                                         22   issued), but Defendants continually refused based on their belief
                                                                         23   that European Union ("EU") law and EC policy prohibited the
                                                                         24   disclosure of those documents.         Now the DAPs seek production of the
                                                                         25   Decision, but Defendants still refuse.           See Opp'n at 1-6.
                                                                         26   ///
                                                                         27   ///
                                                                         28   ///



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                                                                          1 III.   DISCUSSION
                                                                          2        The Federal Rules of Civil Procedure authorize party-initiated
                                                                          3   discovery of any evidence that is relevant to any party's claims or
                                                                          4   defenses.     Fed. R. Civ. P. 26(b)(1).       However, Rule 26 grants the
                                                                          5   court discretion to limit discovery on several grounds, including
                                                                          6   international comity.       See Societe Nationale Industrielle
                                                                          7   Aerospatiale v. U.S. Dist. Court for the S. Dist. of Iowa, 482 U.S.
                                                                          8   522, 544 (1987).      American courts, in supervising pretrial
                                                                          9   proceedings, should exercise special vigilance to demonstrate due
                                                                         10   respect for any sovereign interest expressed by a foreign state.
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                                                                         11   Id. at 546.
                                                                         12        "Comity, in the legal sense, is neither a matter of absolute
                                                                         13   obligation, on the one hand, nor of mere courtesy and good will,
                                                                         14   upon the other."      Id. at 544 (citing Hilton v. Guyot, 159 U.S. 113,
                                                                         15   163-64 (1895)).     It is the recognition that one nation allows
                                                                         16   within its territory to the legislative, executive, or judicial
                                                                         17   acts of another nation, having due regard both to international
                                                                         18   duty and convenience, and to the rights of its own citizens or of
                                                                         19   other persons who are under the protection of its laws.                 Id.; In re
                                                                         20   Rubber Chems. Antitrust Litig., 486 F. Supp. 2d 1078, 1081 (N.D.
                                                                         21   Cal. 2007).
                                                                         22        The Supreme Court and the Ninth Circuit agree that comity and
                                                                         23   foreign law alone will not be dispositive when a discovery dispute
                                                                         24   arises regarding a foreign law's protection of documents sought in
                                                                         25   a United States court.       See id. at 544 & n.29; Societe
                                                                         26   Internationale Pour Participations Industrielles et Commerciales v.
                                                                         27   Rogers, 357 U.S. 197, 208 (1958); Richmark Corp. v. Timber Falling
                                                                         28   Consultants, 959 F.2d 1468, 1474-75 (9th Cir. 1992).              The Court



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                                                                          1   must consider the following factors in determining whether or not
                                                                          2   foreign law excuses noncompliance with a United States court's
                                                                          3   discovery orders:
                                                                          4        (1) the importance to the . . . litigation of the
                                                                                   documents or other information requested; (2) the degree
                                                                          5        of   specificity  of   the  request;  (3)   whether  the
                                                                                   information originated in the United States; (4) the
                                                                          6        availability of alternative means of securing the
                                                                                   information; and (5) the extent to which noncompliance
                                                                          7        with the request would undermine important interests of
                                                                                   the United States, or compliance with the request would
                                                                          8        undermine important interests of the state where the
                                                                                   information is located.
                                                                          9
                                                                         10   Aerospatiale, 482 U.S. at 544 n.28.          This list is not exhaustive.
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                                                                         11   The Ninth Circuit has also considered other factors, including "the
                                                                         12   extent and the nature of the hardship that inconsistent enforcement
                                                                         13   would impose upon the person, . . . [and] the extent to which
                                                                         14   enforcement by action of either state can reasonably be expected to
                                                                         15   achieve compliance with the rule prescribed by that state."             United
                                                                         16   States v. Vetco, Inc., 691 F.2d 1281, 1287 (9th Cir. 1981);
                                                                         17   Richmark, 959 F.2d at 1475.        Defendants do not dispute the
                                                                         18   request's specificity, but they contend that no other factor
                                                                         19   counsels granting the DAPs' motion.          Id.
                                                                         20        First, courts are less inclined to ignore a foreign state's
                                                                         21   concerns if the outcome of litigation "does not stand or fall on
                                                                         22   the present discovery order," or if the evidence sought is
                                                                         23   cumulative.    Richmark, 959 F.2d at 1475; In re Rubber Chems., 486
                                                                         24   F. Supp. 2d at 1082.      The DAPs argue that the Decision is important
                                                                         25   because it concerns the formation and duration of the conspiracy,
                                                                         26   the conspiracy's geographic reach, the price-fixing activities at
                                                                         27   the conspiracy's center, and the conspirators' attempts to conceal
                                                                         28   the conspiracy's existence.        Mot. at 4.      Defendants contend that



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                                                                          1   the Decision is irrelevant, because it concerns the European CDT
                                                                          2   and CPT market and applies EU, not US, law.            Opp'n at 2-3.
                                                                          3        The Court finds the Decision is relevant, because the DAPs'
                                                                          4   and other plaintiffs' allegations in this case have always
                                                                          5   concerned the international character of the alleged CRT
                                                                          6   conspiracy.    Applicable law would clearly be different in a foreign
                                                                          7   jurisdiction, but the Decision could include relevant facts
                                                                          8   regardless of any foreign legal analysis.           This weighs for
                                                                          9   production.
                                                                         10        Second, the DAPs do not dispute the fact that the Decision
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                                                                         11   originated from the EU, not the US.          This weighs against production
                                                                         12   due to the EU's sovereign interest in governmental information
                                                                         13   produced within its borders.        See In re Rubber Chems., 486 F. Supp.
                                                                         14   2d at 1083; see also In re Air Cargo Shipping Svcs. Antitrust
                                                                         15   Litig., 278 F.R.D. 51, 52-53 (E.D.N.Y. 2010).            Further, Defendants
                                                                         16   do not appear to have released the Decision in other litigation,
                                                                         17   and they have continually relied on the application of EU
                                                                         18   confidentiality law in the present dispute.            This also weighs
                                                                         19   against production.
                                                                         20        Third, the parties dispute the availability of the Decision
                                                                         21   outside this demand for production.          Defendants contend that the
                                                                         22   Decision will be available as soon as the EC completes its
                                                                         23   preparation of a public version.         Opp'n at 4.     They also note that
                                                                         24   fact discovery does not close for six months, during which time
                                                                         25   publication of the Decision is likely.           Id. at 4-5.     The DAPs argue
                                                                         26   that no alternative means of learning the Decision's detailed
                                                                         27   findings are available, and that since Defendants' cooperation is
                                                                         28   necessary for production of a public version of the Decision,



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                                                                          1   Defendants have an incentive to proceed very slowly in order to
                                                                          2   avoid producing the Decision in this litigation.             Mot. at 4, 7.
                                                                          3   The Court finds that this factor weighs in favor of production,
                                                                          4   because there does not appear to be an alternative means of
                                                                          5   accessing the Decision without contravening EU law and policy.
                                                                          6        However, since the Court explains below that the EU's
                                                                          7   interests override the need for production in this case, the Court
                                                                          8   notes here that the speedy development of a public version of the
                                                                          9   Decision is highly important.         Defendants state that publication of
                                                                         10   a non-confidential version of the Decision within six months is
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                                                                         11   "likely."    Opp'n at 4.     Because they already appear to be on notice
                                                                         12   of the importance of that publication, Defendants are encouraged to
                                                                         13   proceed apace with their collaboration in the EC's public version
                                                                         14   of the Decision.
                                                                         15        Finally, the Court must balance international comity with the
                                                                         16   policies of the Federal Rules of Civil Procedure in order to
                                                                         17   determine the extent to which noncompliance with the discovery
                                                                         18   request would undermine important United States interests, compared
                                                                         19   to how compliance could undermine important interests of the state
                                                                         20   where the information is located.           Aerospatiale, 482 U.S. at 544.
                                                                         21   In evaluating the interests on both sides, the Court considers both
                                                                         22   "expressions of interest by the foreign state" and "indications of
                                                                         23   the foreign state's concern for confidentiality prior to the
                                                                         24   controversy," as well as the United States' interest in vindicating
                                                                         25   American plaintiffs' rights.        Richmark, 959 F.2d at 1477.
                                                                         26        The DAPs contend that the investigation behind the Decision is
                                                                         27   over, that they do not seek the underlying investigative materials
                                                                         28   (only the Decision itself), and that the EC's delay in issuing a



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                                                                          1   public version of the Decision are all factors favoring production.
                                                                          2   Mot. at 4.    The DAPs also argue that any confidentiality concerns
                                                                          3   are lessened where few Defendants remain in the CRT business and a
                                                                          4   protective order on the case shields any designated information
                                                                          5   from the public.      Id.
                                                                          6        Defendants argue that EU law and EC policy are very clear
                                                                          7   here: disclosure of the Decision would violate foreign law,
                                                                          8   frustrate the EC's investigations of antitrust cases, and subject
                                                                          9   Defendants to harsh sanctions at home and abroad.             In support of
                                                                         10   this, they supply a letter from Eric van Ginderachter, Director of
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                                                                         11   the EC's Directorate General for Competition ("DG Competition"),
                                                                         12   which the Supreme Court has recognized as "the European Union's
                                                                         13   primary antitrust law enforcer."         Intel Corp. v. Advanced Micro
                                                                         14   Devices, Inc., 542 U.S. 241, 250 (2004); Opp'n Ex. D ("DG
                                                                         15   Competition Letter").
                                                                         16        The Court finds that comity outweighs discovery in this
                                                                         17   instance.    In terms of law, Article 337 of the Treaty of the
                                                                         18   Functioning of the European Union and Article 28 of EC Regulation
                                                                         19   1/2003 require the EC to refrain from disclosing information
                                                                         20   acquired or exchanged pursuant to the EU's competition laws.            EU
                                                                         21   law also potentially subjects parties who disclose such
                                                                         22   confidential information to official sanctions, including being
                                                                         23   reported to their home jurisdictions' bars.            In terms of policy,
                                                                         24   the DG Competition Letter states that even though its investigation
                                                                         25   as to these Defendants is over for purposes of the Decision, it
                                                                         26   objects to the Decision's disclosure because its leniency program
                                                                         27   "is a cornerstone of its cartel detection and enforcement," whose
                                                                         28   "optimal functioning requires that a party that comes forward and



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                                                                          1   cooperates with the Commission does not find itself worse-off vis-
                                                                          2   à-vis the non-cooperating cartel members as a result of doing so."
                                                                          3   DG Competition Letter at 3.        The EC also relies on cooperation from
                                                                          4   United States law enforcement agencies, including the Department of
                                                                          5   Justice, and while the Letter does not say as much, the cooperation
                                                                          6   of United States and EU agencies is an aspect of comity.                See In re
                                                                          7   Rubber Chems., 486 F. Supp. 2d at 1084 (noting that a similar
                                                                          8   letter from the DG Competition objecting to disclosure of a similar
                                                                          9   decision could impact US-EU cooperation in international antitrust
                                                                         10   enforcement).
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                                                                         11        The Court therefore finds that the final factor weighs against
                                                                         12   disclosure, and that it also outweighs the benefit the DAPs might
                                                                         13   receive in obtaining the Decision.          However, as noted above,
                                                                         14   Defendants seem optimistic about the EC's publication of a public
                                                                         15   version of the Decision before the close of discovery in this case.
                                                                         16   They are advised to assist in that task.
                                                                         17
                                                                         18 IV.    CONCLUSION
                                                                         19        For the reasons explained above, the Direct Action Plaintiffs'
                                                                         20   motion to compel is DENIED without prejudice.
                                                                         21
                                                                         22        IT IS SO ORDERED.
                                                                         23
                                                                         24        Dated: March 26, 2014
                                                                                                                      UNITED STATES DISTRICT JUDGE
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